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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA

SUPERSEDING INDICTMENT

_— Vv . _— .

S8 17 Cr. 630 (ER)

MARK S. SCOTT,
Defendant.
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COUNT ONE

(Conspiracy to Commit Money Laundering)

The Grand Jury charges:

1. From at least in or about 2016 through in or about
2018, in the Southern District of New York and elsewhere, MARK
S. SCOTT, the defendant, and others known and unknown, knowingly
did combine, conspire, confederate, and agree together and with
each other to commit money laundering, in violation of Title 18,
United States Code, Sections 1956(a) (1) (B) (i) and
1956 (a) (2) (B) (4).

2. It was a part and an object of the conspiracy that
MARK S. SCOTT, the defendant, and others known and unknown,
knowing that the property involved in certain financial
transactions represented the proceeds of some form of unlawful
activity, would and did conduct and attempt to conduct such
financial transactions which in fact involved the proceeds of

specified unlawful activity, to wit, approximately $400 million

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in proceeds of a pyramid scheme involving a purported
cryptocurrency known as “OneCoin,” knowing that the transactions
were designed in whole and in part to conceal and disguise the
nature, location, source, ownership, and control of the proceeds
of specified. unlawful activity, in violation of Title 18, United
States Code, Section 1956(a) (1) (B) (4).

3. It was further a part and an object of the conspiracy
that MARK S. SCOTT, the defendant, and others known and unknown,
would and did transport, transmit, and transfer, and attempt to
transport, transmit, and transfer a monetary instrument and
funds from a place in the United States to and through a place
outside the United States, and to a place in the United States
from and through a place outside the United States, knowing that
the monetary instrument and funds involved inthe
transportation, transmission, and transfer represented the
proceeds of some form of unlawful activity and knowing that such
transportation, transmission, and transfer was designed in whole
and in part to conceal and disguise the nature, location,
source, ownership, and control of the proceeds of specified
unlawful activity, to wit, approximately $400 million in
proceeds of a pyramid scheme involving a purported
cryptocurrency known as “OneCoin,” in violation of Title 18,
United States Code, Section 1956(a) (2) (B) (1).

(Title 18, United States Code, Section 1956(h).)

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COUNT TWO
(Conspiracy to Commit Bank Fraud)

The Grand Jury further charges:

4, From at least in or about 2016 through in or about
2018, in the Southern District of New York and elsewhere, MARK
S. SCOTT, the defendant, and others known and unknown, willfully
and knowingly did combine, conspire, confederate, and agree
together and with each other to commit bank fraud, in violation
of Title 18, United. States Code, Section 1344.

5. It was a part and object of the conspiracy that MARK
S. SCOTT, the defendant, and others known and unknown, willfully
and knowingly, would and did execute and attempt to execute a
scheme and artifice to defraud a financial institution, the
deposits of which were then insured by the Federal Deposit
Insurance Corporation (“FDIC”), and to obtain moneys, funds,
credits, assets, securities, and other property owned by, and
under the custody and control of, such financial institution, by
means of false and fraudulent pretenses, representations, and
promises, to wit, SCOTT and others misrepresented and omitted
material facts to banks and other financial institutions
worldwide to cause those financial institutions, including FDIC-
insured financial institutions in the United States, to transfer

funds into and out of accounts associated with purported

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investment funds operated by SCOTT and others, in violation of
Title 18, United States Code, Section 1344.
(Title 18, United States Code, Section 1349.)

FORFEITURE ALLEGATION

6. As a result of committing the offense alleged in Count
One of this Superseding Indictment, MARK S. SCOTT, the
defendant, shall forfeit to the United States, pursuant to Title
18, United States Code, Section 982 (a) (1), any and all property,
real and personal, involved in said offense, or any property
traceable to such property, including but not limited to a sum
of money in United States currency representing the amount of
property involved in said offense.

7. As a result of committing the offense alleged in Count
Two of this Superseding Indictment, MARK S. SCOTT, the
defendant, shall forfeit to the United States, pursuant to Title
18, United States Code, Section 982(a) (2) (A), any and all
property constituting, or derived from, proceeds obtained
directly or indirectly, as a result of the commission of said
offense, including but not limited to a sum of money in United
States currency representing the amount of proceeds traceable to
the commission of said offense.

Substitute Asset Provision

8. If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

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a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third party;

Cc. has been placed beyond the jurisdiction of the
court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), and Title 28, United States
Code, Section 2461(c), to seek forfeiture of any other property
of the defendant up to the value of the above forfeitable
property.

(Title 18, United States Code, Section 982;

Title 21, United States Code, Sections 853; and
Title 28, United States Code, Section 2461.)

OREPERSON GEOFFRKY SQ BERMAN .,
‘ United States Attorney
Southern District of New York

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Defendant.

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S8 17 Cr. 630 (ER)

(18 U.S.C. §§ 1956(h) and 1349.)

GEOFFREY S. BERMAN

United States Attorney.

A TRUE BILL

gl. s Drees

bp Foreperson.

